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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

RONALD W. CHERRY                       §
                                       §
                    Plaintiff,         §
v.                                     §            Civil Action No. 6:17-cv-00274
                                       §
LIBERTY INSURANCE CORPORATION          §
 AND JONATHAN CARNLEY                  §              (JURY)
                                       §
                    Defendant.         §
______________________________________________________________________________

                            NOTICE OF REMOVAL
______________________________________________________________________________

       Defendants Liberty Insurance Corporation and Jonathan Carnley (collectively,

“Defendants”), timely file this Notice of Removal pursuant to 28 U.S.C. § 1441(a), 28 U.S.C. §

1332(a), and 28 U.S.C. §1446(b), removing this action from the 87th District Court of Freestone

County, Texas, to the United States District Court for the Western District of Texas, Waco

Division, and in support thereof shows as follows:

A.     Introduction

        1.     Plaintiff Ronald W. Cherry (“Plaintiff”) commenced this lawsuit against

 Defendants in the 87th District Court of Freestone County, Texas, by filing his Original Petition

 on or about August 30, 2017. A true and correct copy of the Original Petition is attached hereto

 as Exhibit “A.”      Plaintiff served the Original Petition on Defendant Liberty Insurance

 Corporation on or around September 8, 2017. Plaintiff served the Original Petition on

 Defendant Jonathan Carnley thereafter.

        2.     Defendants are filing this Notice of Removal within 30 days of their first receipt

 of Plaintiff’s Original Petition as required by 28 U.S.C. § 1446(b).
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        3.     Plaintiff seeks to recover damages in this lawsuit based on allegations of breach

 of contract, violations of the Texas Insurance Code, violations of the Texas Deceptive Trade

 Practices Act (“DTPA”), and breach of the duty of good faith and fair dealing resulting from

 the alleged conduct of Defendants. Plaintiff’s claims arise under a homeowner’s policy of

 insurance issued by Defendant Liberty Insurance Corporation on certain property owned by

 Plaintiff, located in Freestone County, Texas, which is alleged to have been damaged by a wind

 and hail storm.

B.     Jurisdiction & Removal

       4.      In a removal situation, the burden is on the removing party to establish the

existence of jurisdiction and the propriety of removal. Manguno v. Prudential Property and Cas.

Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002). This Court has jurisdiction in this case pursuant to

28 U.S.C. § 1332, in that there is complete diversity of citizenship between the parties and the

amount in controversy exceeds $75,000.00. Accordingly, statutory authority for the removal of

this matter is conferred by 28 U.S.C. §§ 1441 and 1446.

       5.      Complete diversity under 28 U.S.C. § 1332 exists in this case. Plaintiff is a citizen

of the State of Texas. Liberty Insurance Corporation is a corporation organized under the laws

of the State of Massachusetts with its principal place of business located in Boston.

       6.      The Court should not consider the citizenship of Defendant Jonathan Carnley for

purposes of this removal because he has been improperly joined to this case. Under the well-

established law of this Circuit, the citizenship of a non-diverse party who has been improperly

joined to a suit solely to defeat diversity jurisdiction should be disregarded when ascertaining

whether a federal court has subject matter jurisdiction under 28 U.S.C. § 1332. See Griggs v.

State Farm Lloyds, 181 F.3d 694, 699 (5th Cir. 1999). A defendant is improperly joined when




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there is no reasonable basis for the Court to predict that the plaintiff might be able to recover

against an in-state, non-diverse defendant on the claims pleaded in state court. Smallwood v.

Illinois Central Railroad Co., 385 F.3d 568, 573 (5th Cir. 2004) (en banc).

       7.      Here, Plaintiff’s petition contains insufficient factual allegations to support a

cause of action against Defendant Carnley. See Sohmer v. Am. Med. Sec., Inc., CIV.A. 3:02-CV-

1680-, 2002 WL 31323763, at *2-3 (N.D. Tex. Oct. 15, 2002). Specifically, the only causes of

action Plaintiff asserts against Defendant Carnley are for various perceived violations of the

Texas Insurance Code and DTPA, and for breach of the duty of good faith and fair dealing. In

support of these causes of action, however, Plaintiff alleges no specific facts in support. Rather,

Plaintiff’s allegations consist primarily of threadbare, conclusory assertions, often tracking the

language of the insurance code verbatim. Ashcroft v. Iqbal, 556 U.S. 662 at 678 (2009)

(“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.”). Moreover, to the extent Plaintiff has alleged any specific facts

against Defendant Carnley, such allegations are tied to the insurance company’s denial of

coverage rather than any independent violations of the insurance code, for which a defendant

adjuster may not be held personally liable. See Messersmith v. Nationwide Mut. Fire Ins. Co., 10

F. Supp. 3d 721, 724 (N.D. Tex. 2014) (“But for an adjuster to be held individually liable, they

have to have committed some act that is prohibited by the section, not just be connected to an

insurance company's denial of coverage.”).          Accordingly, Defendant Carnley has been

improperly joined, and his citizenship should be disregarded for jurisdictional purposes.

       8.        In addition, the amount in controversy meets the minimum jurisdictional

requirements under 28 U.S.C. § 1332.          Here Plaintiff, in accordance with the pleading

requirements of Texas State Courts, has expressly pleaded that he seeks monetary relief damages




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“between $200,000.00 and $1,000,000.00[.]” The sum claimed by a plaintiff controls the court’s

“amount in controversy” analysis. Kennard v. Indianapolis Life Ins. Co., 420 F. Supp. 2d 601,

607 (N.D. Tex. 2006) citing St. Paul Mercury Indemnity Co. v. Red Cab Co., 303 U.S. 283, 288,

58 S.Ct. 586, 82 L.Ed. 845 (1938); see also St. Paul Reinsurance Company, Ltd. v. Greenberg,

134 F.3d 1250, 1253 (5th Cir. 1998); Allen v. R & H Oil & Gas Company, 63 F.3d 1326, 1335

(5th Cir. 1995). In general, the court will look to the plaintiff’s complaint regarding the pleaded

amount in controversy, but the court is also free to look to other information before the court,

including any discovery material and affidavits. Id.

       9.      If the court finds it necessary to consider additional information, items to be

considered in ascertaining the amount in controversy when the insurer could be liable for those

sums under state law are, inter alia, penalties, statutory damages, and punitive damages—not

interest or costs. St. Paul Reinsurance Co., Ltd. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir.

1998). If a state statute provides for attorney’s fees, such fees are included as part of the amount

in controversy. Id. Here, the combination of Plaintiff’s allegations and Defendants’ evidence

demonstrate by more than a preponderance of the evidence that the amount in controversy

exceeds $75,000.00.

       10.     Here, Plaintiff is suing for benefits afforded to him under Defendant Liberty

Insurance Corporation’s homeowners insurance policy, which provides $635,400.00 in coverage

to Plaintiff’s property. See a copy of the declarations page for the insurance policy at issue in

this case, attached at Exhibit “B.” In any first party insurance action, the amount of contract

damages can be up to the insured amount. In addition, Plaintiff’s pleading states that he is also

seeking:

       (a)     Statutory damages in the amount of 18% interest on the total amount of the claim;




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       (b)     Punitive damages in the amount of three times his actual damages;

       (c)     Attorneys’ fees.

       Even if Plaintiff had not already pleaded himself above the minimal amount needed for

diversity jurisdiction, it is clear the types of damage he is seeking, when considered jointly, put

him well above the jurisdictional minimum. Taking all of the allegations together, Defendants

have ample reason to believe the potential damages in this matter would be in excess of the

minimum required for diversity jurisdiction.

       11.     For these reasons, Defendants believe it is reasonably clear that the amount in

controversy exceeds the sum of $75,000.00.            Not only has Plaintiff conceded as much,

Defendants have also made such showing by a preponderance of the evidence as required by

applicable federal law.

       12.     Venue is proper in this district and division under 28 U.S.C. § 1441(a) because

the state court where the action has been pending is located in this district and division.

       13.     Contemporaneous with the filing of this Notice of Removal, Defendants are filing

a Notice of Filing Notice of Removal with the Clerk of Court for the 87th District Court of

Freestone County, Texas pursuant to 28 U.S.C. § 1446(d).

       14.     Attached hereto are all documents required by 28 U.S.C. § 1446(a).

       15.     Defendants demanded a jury in the state court action. Defendants also request a

trial by jury pursuant to Rule 81(c)(3)(A), Federal Rules of Civil Procedure.

       16.     All fees required by law in connection with this Notice have been tendered and

paid by Defendants.




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       WHEREFORE, Defendants Liberty Insurance Corporation and Jonathan Carnley hereby

remove the above-captioned matter, now pending in the 87th District Court of Freestone County,

to the United States District Court for the Western District of Texas, Waco Division.

                                              Respectfully submitted,

                                              SHEEHY, WARE & PAPPAS, P.C.

                                        By:          /s/ J. Mark Kressenberg
                                              J. Mark Kressenberg
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                                              ATTORNEYS FOR THE DEFENDANTS
                                              LIBERTY INSURANCE CORPORATION
                                              AND JONATHAN CARNLEY




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above foregoing instrument has been
forwarded via certified mail, return receipt requested, messenger delivery, e-filing, or facsimile
transmission on October 9, 2017 to the following counsel of record:

        Preston J. Dugas III
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                                             /s/ J. Mark Kressenberg
                                             J. Mark Kressenberg

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